B1 (Official Form 1) (12/11)
                                                              United States Bankruptcy Court                                                                                                  Voluntary Petition
                                                          NORTHERN DISTRICT OF CALIFORNIA
  Name of Debtor             (if individual, enter Last, First, Middle):                                               Name of Joint Debtor                (Spouse)(Last, First, Middle):


  Derosier, Gary L.                                                                                                    Derosier, Teresa
  All Other Names used by the Debtor in the last 8 years                                                               All Other Names used by the Joint Debtor in the last 8 years
  (include married, maiden, and trade names):                                                                          (include married, maiden, and trade names):
  NONE                                                                                                                 NONE


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN                                      Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
  (if more than one, state all):   9942                                                                                (if more than one, state all):   4977
  Street Address of Debtor                  (No. & Street, City, and State):                                           Street Address of Joint Debtor                    (No. & Street, City, and State):
  30397 River Rd.                                                                                                      30397 River Rd.
  Cloverdale, CA                                                                                                       Cloverdale, CA
                                                                                               ZIPCODE                                                                                                           ZIPCODE
                                                                                               95425                                                                                                             95425
  County of Residence or of the                                                                                        County of Residence or of the
  Principal Place of Business:                    Sonoma                                                               Principal Place of Business:                   Sonoma
  Mailing Address of Debtor                  (if different from street address):                                    Mailing Address of Joint Debtor                       (if different from street address):

  SAME                                                                                                             SAME
                                                                                               ZIPCODE                                                                                                           ZIPCODE


  Location of Principal Assets of Business Debtor                                                                                                                                                                 ZIPCODE
  (if different from street address above): NOT APPLICABLE


  Type of Debtor             (Form of organization)
                                                                              Nature of Business                                Chapter of Bankruptcy Code Under Which the Petition is Filed
                                                                           (Check one box.)                                                (Check one box)
                (Check one box.)                                                                                                Chapter 7                     Chapter 15 Petition for Recognition
                                                                           Health Care Business
      Individual (includes Joint Debtors)                                                                                       Chapter 9                      of a Foreign Main Proceeding
                                                                           Single Asset Real Estate as defined                  Chapter 11
      See Exhibit D on page 2 of this form.
                                                                           in 11 U.S.C. § 101 (51B)                             Chapter 12                    Chapter 15 Petition for Recognition
      Corporation (includes LLC and LLP)                                                                                                                      of a Foreign Nonmain Proceeding
                                                                           Railroad                                             Chapter 13
      Partnership
                                                                           Stockbroker                                                      Nature of Debts        (Check one box)
      Other (if debtor is not one of the above
                                                                           Commodity Broker                                   Debts are primarily consumer debts, defined                                   Debts are primarily
      entities, check this box and state type of
      entity below                                                         Clearing Bank                                      in 11 U.S.C. § 101(8) as "incurred by an                                      business debts.
                                                                                                                              individual primarily for a personal, family,
                                                                           Other
                                                                                                                              or household purpose"
             Chapter 15 Debtors                                              Tax-Exempt Entity                                                          Chapter 11 Debtors:
Country of debtor's center of main interests:                                  (Check box, if applicable.)
                                                                                                                       Check one box:
  _____________________________________                                    Debtor is a tax-exempt organization
                                                                                                                           Debtor is a small business as defined in 11 U.S.C. § 101(51D).
Each country in which a foreign proceeding by,                             under Title 26 of the United States
regarding, or against debtor is pending:                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                           Code (the Internal Revenue Code).
  _____________________________________
                                                                                                                       Check if:
                                   Filing Fee         (Check one box)
                                                                                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts
      Full Filing Fee attached                                                                                           owed to insiders or affiliates) are less than $2,190,000 .
     Filing Fee to be paid in installments (applicable to individuals only). Must
     attach signed application for the court’s consideration certifying that the debtor                            -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- --
     is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                  Check all applicable boxes:
                                                                                                                          A plan is being filed with this petition
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
     attach signed application for the court's consideration. See Offi cial Form 3B.                                       Acceptances of the plan were solicited prepetition from one or more
                                                                                                                           classes of creditors, in accordance with 11 U.S.C. § 1126(b).

  Statistical/Administrative Information                                                                                                                                                    THIS SPACE IS FOR COURT USE ONLY

         Debtor estimates that funds will be available for distribution to unsecured creditors.
         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
         distribution to unsecured creditors.
 Estimated Number of Creditors

  1-49               50-99             100-199            200-999             1,000-         5,001-          10,001-           25,001-           50,001-            Over
                                                                              5,000          10,000          25,000            50,000            100,000            100,000
 Estimated Assets
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
 Estimated Liabilities
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
                Case: 13-10011                               Doc# 1                    Filed: 01/04/13                  Entered: 01/04/13 08:44:21                                            Page 1 of 37
B1 (Official Form 1) (12/11)                                                                                                                                          FORM B1, Page   2
 Voluntary Petition                                                                          Name of Debtor(s):
                                                                                             Gary L. Derosier and
 (This page must be completed and filed in every case)
                                                                                             Teresa Derosier
                         All Prior Bankruptcy Cases Filed Within Last 8 Years                       (If more than two, attach additional sheet)
 Location Where Filed:                                                               Case Number:                                                 Date Filed:
 Northern District, California                                                       12-12265                                                     8/20/2012
 Location Where Filed:                                                               Case Number:                                                 Date Filed:


 Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                   (If more than one, attach additional sheet)
 Name of Debtor:                                                                      Case Number:                                                Date Filed:
 NONE
 District:                                                                            Relationship:                                               Judge:


                                   Exhibit A                                                                                             Exhibit B
   (To be completed if debtor is required to file periodic reports                                                      (To be completed if debtor is an individual
   (e.g., forms 10K and 10Q) with the Securities and Exchange                                                           whose debts are primarily consumer debts)
   Commission pursuant to Section 13 or 15(d) of the Securities                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   Exchange Act of 1934 and is requesting relief under Chapter 11)                     have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
                                                                                       or 13 of title 11, United States Code, and have explained the relief available under
                                                                                       each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).
       Exhibit A is attached and made a part of this petition                          X     /s/ Tiffany R. Norman                                                          1/ 3/2013
                                                                                              Signature of Attorney for Debtor(s)                                             Date


                                                                                        Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
         Yes, and exhibit C is attached and made a part of this petition.
         No

                                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

           Exhibit D, completed and signed by the debtor, is attached and made part of this petition.
 If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                    Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)

     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     preceding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
     principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
     the interests of the parties will be served in regard to the relief sought in this District.

                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                   (Check all applicable boxes.)
             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)

             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

             Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
             period after the filing of the petition.

             Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).

             Case: 13-10011                   Doc# 1            Filed: 01/04/13                     Entered: 01/04/13 08:44:21                                Page 2 of 37
B1 (Official Form 1) (12/11)                                                                                                                         FORM B1, Page   3
 Voluntary Petition                                                                 Name of Debtor(s):
                                                                                     Gary L. Derosier and
   (This page must be completed and filed in every case)
                                                                                     Teresa Derosier
                                                                             Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                    Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this
petition is true and correct.                                                    I declare under penalty of perjury that the information provided in this
[If petitioner is an individual whose debts are primarily consumer debts         petition is true and correct, that I am the foreign representative of a debtor
and has chosen to file under chapter 7] I am aware that I may proceed            in a foreign proceeding, and that I am authorized to file this petition.
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to           (Check only one box.)
proceed under chapter 7.
                                                                                      I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer
                                                                                      Code. Certified copies of the documents required by 11 U.S.C. § 1515
signs the petition] I have obtained and read the notice required by
                                                                                      are attached.
11 U.S.C. §342(b)
                                                                                      Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States            chapter of title 11 specified in this petition. A certified copy of the
Code, specified in this petition.                                                     order granting recognition of the foreign main proceeding is attached.
 X /s/ Gary L. Derosier
     Signature of Debtor                                                         X
                                                                                      (Signature of Foreign Representative)
 X /s/ Teresa Derosier
     Signature of Joint Debtor

                                                                                      (Printed name of Foreign Representative)
     Telephone Number (if not represented by attorney)

       1/ 3/2013                                                                      (Date)
     Date

                                  Signature of Attorney*
                                                                                               Signature of Non-Attorney Bankruptcy Petition Preparer
 X /s/ Tiffany R. Norman                                                        I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Signature of Attorney for Debtor(s)                                        preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                compensation and have provided the debtor with a copy of this document
     Tiffany R. Norman
     Printed Name of Attorney for Debtor(s)
                                                                                and the notices and information required under 11 U.S.C. §§ 110(b), 110
                                                                                (h), and 342(b); and, (3) if rules or guidelines have been promulgated
     TRN Law Associates                                                         pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
     Firm Name                                                                  bankruptcy petition preparers, I have given the debtor notice of the
                                                                                maximum amount before preparing any document for filing for a debtor
     654 Sacramento St. 2nd Floor                                               or accepting any fee from the debtor, as required in that section. Official
     Address                                                                    Form 19 is attached.


     San Francisco, CA                         94111
                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     415-823-4566
     Telephone Number
                                                                                 Social-Security number (If the bankruptcy petition preparer is not an
       1/ 3/2013                                                                 individual, state the Social-Security number of the officer, principal,
     Date                                                                        responsible person or partner of the bankruptcy petition preparer.)
                                                                                 (Required by 11 U.S.C. § 110.)
 *In a case in which § 707(b)(4)(D) applies, this signature also
 constitutes a certification that the attorney has no knowledge
 after an inquiry that the information in the schedules is incorrect.            Address

                    Signature of Debtor (Corporation/Partnership)
                                                                                X
I declare under penalty of perjury that the information provided
in this petition is true and correct, and that I have been
authorized to file this petition on behalf of the debtor.                           Date
                                                                                 Signature of bankruptcy petition preparer or officer, principal,
The debtor requests the relief in accordance with the chapter of                 responsible person, or partner whose Social-Security number is provided
title 11, United States Code, specified in this petition.                       Names and Social-Security numbers of all other individuals who prepared
                                                                                or assisted in preparing this document unless the bankruptcy petition
                                                                                preparer is not an individual.
 X
     Signature of Authorized Individual



     Printed Name of Authorized Individual
                                                                                 If more than one person prepared this document, attach additional
                                                                                 sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual                                              A bankruptcy petition preparer’s failure to comply with the provisions of title
                                                                                 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                 imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date




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B 1D (Official Form 1, Exhibit D) (12/09)




                                            UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF CALIFORNIA


In re Gary L. Derosier                                                                                                    Case No.
      and                                                                                                                                 (if known)
      Teresa Derosier
                                            Debtor(s)




            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                             CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




   If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after you
file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy of any
debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your case.
Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may also be
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling
briefing.




             Case: 13-10011                 Doc# 1        Filed: 01/04/13              Entered: 01/04/13 08:44:21                      Page 4 of 37
 B 1D (Official Form 1, Exhibit D) (12/09)



               4. I am not required to receive a credit counseling briefing because of:         [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


        I certify under penalty of perjury that the information provided above is true and correct.

                                    Signature of Debtor:       /s/ Gary L. Derosier
                                    Date:      1/ 3/2013




              Case: 13-10011                 Doc# 1         Filed: 01/04/13              Entered: 01/04/13 08:44:21                       Page 5 of 37
B 1D (Official Form 1, Exhibit D) (12/09)




                                            UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF CALIFORNIA


In re Gary L. Derosier                                                                                                    Case No.
      and                                                                                                                 Chapter 13
      Teresa Derosier

                                            Debtor(s)




            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                             CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not I have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




   If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
briefing.




             Case: 13-10011                 Doc# 1        Filed: 01/04/13              Entered: 01/04/13 08:44:21                      Page 6 of 37
 B 1D (Official Form 1, Exhibit D) (12/09)



               4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


         I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:      /s/ Teresa Derosier
 Date:      1/ 3/2013




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B6 Summary (Official Form 6 - Summary) (12/07)




                                            UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF CALIFORNIA

   In re Gary L. Derosier and Teresa Derosier                                                                                Case No.
                                                                                                                             Chapter 13


                                                                                                               / Debtor




                                                          SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the
boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E, and
F to determine the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data"if they
file a case under chapter 7, 11, or 13.




                                          Attached           No. of
       NAME OF SCHEDULE                   (Yes/No)           Sheets                  ASSETS                         LIABILITIES                        OTHER

 A-Real Property
                                             Yes                1        $              268,449.00

 B-Personal Property
                                             Yes                4        $                14,210.00

 C-Property Claimed as
   Exempt
                                             Yes                1

 D-Creditors Holding Secured
   Claims
                                             Yes                2                                          $              543,986.00

 E-Creditors Holding
   Unsecured Priority Claims                 Yes                2                                          $                7,438.00
   (Total of Claims on Schedule E)

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                             Yes                3                                          $              55,161.00

 G-Executory Contracts and
   Unexpired Leases
                                             Yes                1

 H-Codebtors
                                             Yes                1

 I-Current Income of Individual
   Debtor(s)
                                             Yes                1                                                                          $                4,591.00

 J-Current Expenditures of
   Individual Debtor(s)
                                             Yes                1                                                                          $                4,311.00

                                  TOTAL                       17         $              282,659.00 $                    606,585.00




               Case: 13-10011                Doc# 1         Filed: 01/04/13             Entered: 01/04/13 08:44:21                      Page 8 of 37
B6 Summary (Official Form 6 - Summary) (12/07)




                                              UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF CALIFORNIA

   In re Gary L. Derosier and Teresa Derosier                                                                                 Case No.
                                                                                                                              Chapter 13



                                                                                                               / Debtor



      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C § 159)
 If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101(8), filing a case under
 chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.



 This information is for statistical purposes only under 28 U.S.C. § 159.

 Summarize the following types of liabilities, as reported in the Schedules, and total them.

   Type of Liability                                                                                              Amount
   Domestic Support Obligations (from Schedule E)                                                                 $   0.00
   Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                                     $   7,438.00
   Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
   disputed or undisputed)                                                                                        $   0.00
   Student Loan Obligations (from Schedule F)                                                                     $   0.00
   Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on                         $   0.00
   Schedule E
   Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)                      $   0.00
                                                                                                     TOTAL        $   7,438.00

 State the following:


   Average Income (from Schedule I, Line 16)                                                                          $   4,591.00
   Average Expenses (from Schedule J, Line 18)                                                                        $   4,311.00
   Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C Line 20)                         $   7,145.00
 State the following:


   1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                                                  $   275,037.00
   2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY" column                                                     $   7,438.00
   3. Total from Schedule E, "AMOUNT NOT ENTITLED TO PRIORITY, IF ANY" column                                                                    $   0.00
   4. Total from Schedule F                                                                                                                      $   55,161.00
   5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                                  $   330,198.00




               Case: 13-10011                Doc# 1          Filed: 01/04/13            Entered: 01/04/13 08:44:21                       Page 9 of 37
B6 Declaration (Official Form 6 - Declaration) (12/07)




In re Gary L. Derosier and Teresa Derosier                                                                                Case No.
                               Debtor                                                                                                                         (if known)




                                DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                DECLARATION UNDER PENALTY OF PERJURY BY AN INDIVIDUAL DEBTOR

      I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of      18     sheets, and that they are true and
      correct to the best of my knowledge, information and belief.



      Date:   1/3/2013                                       Signature   /s/ Gary L. Derosier
                                                                         Gary L. Derosier


      Date:   1/3/2013                                       Signature   /s/ Teresa Derosier
                                                                         Teresa Derosier

                                                                     [If joint case, both spouses must sign.]



     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.




               Case: 13-10011                 Doc# 1       Filed: 01/04/13              Entered: 01/04/13 08:44:21                Page 10 of 37
FORM B6A (Official Form 6A) (12/07)



In re Gary L. Derosier and Teresa Derosier                                                       ,                Case No.
                        Debtor(s)                                                                                                              (if known)


                                               SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers
exercisable for the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property
by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write
“None” under “Description and Location of Property.”
Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory
Contracts and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                                      Current
              Description and Location of Property                         Nature of Debtor's                                              Amount of
                                                                                                                       Value
                                                                          Interest in Property                   of Debtor's Interest,
                                                                                                                                         Secured Claim
                                                                                                   Husband--H    in Property Without
                                                                                                      Wife--W       Deducting any
                                                                                                      Joint--J    Secured Claim or
                                                                                                 Community--C         Exemption


30397 River Rd.                                                                                              C      $268,449.00           $268,449.00
Cloverdale, CA 95425




No continuation sheets attached                                                            TOTAL $                 268,449.00
                                                                    (Report also on Summary of Schedules.)


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In re Gary L. Derosier and Teresa Derosier                                                                ,                  Case No.
                         Debtor(s)                                                                                                                               (if known)


                                                      SCHEDULE B-PERSONAL PROPERTY
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the
marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If
the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                      Current
               Type of Property                   N             Description and Location of Property                                                   Value
                                                                                                                                                of Debtor's Interest,
                                                  o                                                                         Husband--H          in Property Without
                                                                                                                                Wife--W            Deducting any
                                                  n                                                                                              Secured Claim or
                                                                                                                               Joint--J
                                                  e                                                                       Community--C               Exemption


1. Cash on hand.                                  X

2. Checking, savings or other financial               Checking account                                                                 C                 $2,000.00
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building       Redwood Credit Union
   and loan, and homestead associations, or           Location: In debtor's possession
   credit unions, brokerage houses, or
   cooperatives.



3. Security deposits with public utilities,           Security deposit                                                                 C                 $1,000.00
   telephone companies, landlords, and
   others.                                            PG&E
                                                      Location: In debtor's possession


4. Household goods and furnishings,                   Household furnishings                                                            C                 $5,000.00
   including audio, video, and computer
   equipment.                                         Location: In debtor's possession


5. Books, pictures and other art objects,             Collectible books                                                                C                     $150.00
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or             Location: In debtor's possession
   collectibles.



6. Wearing apparel.                                   Clothing                                                                         C                     $500.00
                                                      Location: In debtor's possession


7. Furs and jewelry.                                  Rings and watches                                                                C                     $350.00
                                                      Location: In debtor's possession


8. Firearms and sports, photographic, and             Printer                                                                          C                     $150.00
   other hobby equipment.
                                                      Location: In debtor's possession




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B6B (Official Form 6B) (12/07)



In re Gary L. Derosier and Teresa Derosier                                                              ,     Case No.
                         Debtor(s)                                                                                                           (if known)


                                                       SCHEDULE B-PERSONAL PROPERTY
                                                                          (Continuation Sheet)

                                                                                                                                 Current
               Type of Property                    N             Description and Location of Property                             Value
                                                                                                                            of Debtor's Interest,
                                                   o                                                          Husband--H    in Property Without
                                                                                                                  Wife--W      Deducting any
                                                   n                                                                         Secured Claim or
                                                                                                                 Joint--J
                                                   e                                                        Community--C         Exemption

9. Interests in insurance policies. Name           X
   insurance company of each policy and
   itemize surrender or refund value of each.
10. Annuities. Itemize and name each issuer.       X

11. Interest in an education IRA as                X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in
    26 U.S.C. 529(b)(1). Give particulars.
    (File separately the record(s) of any such
    interest(s). 11 U.S.C. 521(c).)

12. Interests in IRA, ERISA, Keogh, or other       X
    pension or profit sharing plans. Give
    particulars.
13. Stock and interests in incorporated and        X
    unincorporated businesses. Itemize.

14. Interests in partnerships or joint ventures.   X
    Itemize.

15. Government and corporate bonds and             X
    other negotiable and non-negotiable
    instruments.
16. Accounts Receivable.                           X

17. Alimony, maintenance, support, and             X
    property settlements to which the debtor
    is or may be entitled. Give particulars.
18. Other liquidated debts owed to debtor          X
    including tax refunds. Give particulars.

19. Equitable or future interests, life estates,   X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

20. Contingent and non-contingent interests        X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.
21. Other contingent and unliquidated claims       X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.
22. Patents, copyrights, and other intellectual    X
    property. Give particulars.

23. Licenses, franchises, and other general        X
    intangibles. Give particulars.

24. Customer lists or other compilations           X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.
25. Automobiles, trucks, trailers and other            1992 GMC Pickup truck                                           C             $1,200.00
    vehicles and accessories.
                                                       Location: In debtor's possession


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In re Gary L. Derosier and Teresa Derosier                                                     ,     Case No.
                         Debtor(s)                                                                                                  (if known)


                                              SCHEDULE B-PERSONAL PROPERTY
                                                                 (Continuation Sheet)

                                                                                                                        Current
                 Type of Property         N             Description and Location of Property                             Value
                                                                                                                   of Debtor's Interest,
                                          o                                                          Husband--H    in Property Without
                                                                                                         Wife--W      Deducting any
                                          n                                                                         Secured Claim or
                                                                                                        Joint--J
                                          e                                                        Community--C         Exemption




                                              1992 Utility Trailer                                            C                 $500.00
                                              Location: In debtor's possession


                                              2001 Oldsmobile Van                                             C             $1,000.00
                                              Location: In debtor's possession


26. Boats, motors, and accessories.       X

27. Aircraft and accessories.             X

28. Office equipment, furnishings, and        Office equipment, computer                                      C                 $100.00
    supplies.
                                              Location: In debtor's possession


29. Machinery, fixtures, equipment and    X
    supplies used in business.

30. Inventory.                            X

31. Animals.                                  Chickens, cats, dogs, rabbits, horses                           C             $1,000.00
                                              Location: In debtor's possession


32. Crops - growing or harvested.             Crops-grapes                                                    C                     $0.00
    Give particulars.
                                              Location: In debtor's possession


33. Farming equipment and implements.         Lawnmower, roto-tiller                                          C             $1,100.00
                                              Location: In debtor's possession


                                              Tools                                                           C                     $0.00
                                              Location: In debtor's possession


34. Farm supplies, chemicals, and feed.       Farm supplies                                                   C                 $160.00
                                              Location: In debtor's possession




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                   Case: 13-10011         Doc# 1     Filed: 01/04/13        Entered: 01/04/13 08:44:21      Page 14 of 37
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In re Gary L. Derosier and Teresa Derosier                                                       ,              Case No.
                         Debtor(s)                                                                                                                 (if known)


                                                  SCHEDULE B-PERSONAL PROPERTY
                                                                   (Continuation Sheet)

                                                                                                                                       Current
              Type of Property                N           Description and Location of Property                                          Value
                                                                                                                                  of Debtor's Interest,
                                              o                                                                 Husband--H        in Property Without
                                                                                                                    Wife--W          Deducting any
                                              n                                                                                    Secured Claim or
                                                                                                                   Joint--J
                                              e                                                               Community--C             Exemption

35. Other personal property of any kind not   X
    already listed. Itemize.




Page      4     of     4                                                                                   Total                          $14,210.00
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                                                                                                               (Report total also on Summary of Schedules.)
                                                                                                     Include amounts from any continuation sheets attached.
B6C (Official Form 6C) (04/10)




In re Gary L. Derosier and Teresa Derosier                                                   ,                  Case No.
                        Debtor(s)                                                                                                                (if known)


                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:        Check if debtor claims a homestead exemption that exceeds $146,450.*
(Check one box)
   11 U.S.C. § 522(b) (2)
   11 U.S.C. § 522(b) (3)




                                                                   Specify Law                               Value of                  Current
             Description of Property                              Providing each                             Claimed              Value of Property
                                                                    Exemption                               Exemption             Without Deducting
                                                                                                                                     Exemptions


Checking account                                    Calif. C.C.P. §703.140(b)(5)                              $ 2,000.00                $ 2,000.00

Security deposit                                    Calif. C.C.P. §703.140(b)(5)                              $ 1,000.00                $ 1,000.00

Household furnishings                               Calif. C.C.P. §703.140(b)(3)                              $ 5,000.00                $ 5,000.00

Collectible books                                   Calif. C.C.P. §703.140(b)(3)                                 $ 150.00                     $ 150.00

Clothing                                            Calif. C.C.P. §703.140(b)(3)                                 $ 500.00                     $ 500.00

Rings and watches                                   Calif. C.C.P. §703.140(b)(4)                                 $ 350.00                     $ 350.00

Printer                                             Calif. C.C.P. §703.140(b)(5)                                 $ 150.00                     $ 150.00

1992 GMC Pickup truck                               Calif. C.C.P. §703.140(b)(2)                              $ 1,200.00                $ 1,200.00

2001 Oldsmobile Van                                 Calif. C.C.P. §703.140(b)(5)                              $ 1,000.00                $ 1,000.00

Office equipment                                    Calif. C.C.P. §703.140(b)(5)                                 $ 100.00                     $ 100.00

Animals                                             Calif. C.C.P. §703.140(b)(3)                              $ 1,000.00                $ 1,000.00

Farm equipment                                      Calif. C.C.P. §703.140(b)(5)                              $ 1,100.00                $ 1,100.00

Farm supplies                                       Calif. C.C.P. §703.140(b)(5)                                 $ 160.00                     $ 160.00




    Page No.      1 of       1

          Case:to 13-10011
* Amount subject                 Doc# and
                  adjustment on 4/1/13, 1 every
                                           Filed:  01/04/13
                                                three              Entered:
                                                      years thereafter         01/04/13
                                                                       with respect to cases 08:44:21
                                                                                             commenced onPage
                                                                                                          or after16
                                                                                                                   theof 37of adjustment.
                                                                                                                       date
B6D (Official Form 6D) (12/07)



In re Gary L. Derosier and Teresa Derosier                                                           ,                                    Case No.
                           Debtor(s)                                                                                                                                              (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding
claims secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List
creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust,
and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the
continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled
“Codebtor,” include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is
filed, state whether the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,”
“J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an
“X” in more than one of these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the
boxes labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim
Without Deducting Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily
consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
Liabilities and Related Data.




    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                            Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                              of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                     Unliquidated




              Including ZIP Code and
                                                                                                                     Contingent




                                                               Value of Property Subject to Lien
                                                   Co-Debtor




                                                                                                                                       Deducting Value
                                                                                                                     Disputed




                  Account Number
              (See Instructions Above.)                        H--Husband                                                                 of Collateral
                                                               W--Wife
                                                               J--Joint
                                                               C--Community
Account No:                                                    C                                                                                    $ 0.00                          $ 0.00

Creditor # : 1                                                     Notice only
Regional Trustee Services Corp
616 1st Ave. #500                                                  Trustee sale company re res
Seattle WA 98104                                                   prop at 30397 River Rd.,
                                                                   Cloverdale, CA 95425

                                                                   Value:   $ 268,449.00
Account No:   7930                                             C                                                                             $ 2,714.00                     $ 2,214.00

Creditor # : 2
Springfield Financial
P.O. Box 54290                                                     Vehicle loan for 1992 Travel
Los Angeles CA 90054-0349                                          Trailer


                                                                   Value:   $ 500.00
1      continuation sheets attached                                                                             Subtotal $                   $ 2,714.00                     $ 2,214.00
                                                                                                             (Total of this page)
                                                                                                                      Total $
                                                                                                         (Use only on last page)
                                                                                                                                    (Report also on Summary of   (If applicable, report also on
                                                                                                                                    Schedules.)                  Statistical Summary of
               Case: 13-10011               Doc# 1                 Filed: 01/04/13         Entered: 01/04/13 08:44:21                               Page 17   ofLiabilities
                                                                                                                                                          Certain 37 and
                                                                                                                                                                 Related Data)
B6D (Official Form 6D) (12/07)   - Cont.



In re Gary L. Derosier and Teresa Derosier                                                              ,                                    Case No.
                           Debtor(s)                                                                                                                                                 (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS


                                                                                 (Continuation Sheet)


                Creditor's Name and                            Date Claim was Incurred, Nature                                            Amount of Claim                   Unsecured
                  Mailing Address                              of Lien, and Description and Market                                              Without                   Portion, If Any




                                                                                                                        Unliquidated
              Including ZIP Code and




                                                                                                                        Contingent
                                                               Value of Property Subject to Lien
                                                   Co-Debtor

                                                                                                                                          Deducting Value




                                                                                                                        Disputed
                  Account Number
              (See Instructions Above.)                        H--Husband                                                                    of Collateral
                                                               W--Wife
                                                               J--Joint
                                                               C--Community
Account No:                                                    C                                                                            $ 541,272.00                  $ 272,823.00

Creditor # : 3
Wachovia
P.O. Box 60505                                                     1st DOT for res. prop at 30397
City of Industry CA 91716                                          River Rd., Cloverdale, CA
                                                                   95425

                                                                   Value:   $ 268,449.00
Account No:




                                                                   Value:
Account No:




                                                                   Value:
Account No:




                                                                   Value:
Account No:




                                                                   Value:

Sheet no. 1        of 1      continuation sheets attached to Schedule of Creditors                                 Subtotal $               $ 541,272.00                  $ 272,823.00
Holding Secured Claims                                                                                          (Total of this page)
                                                                                                                         Total $            $ 543,986.00                  $ 275,037.00
                                                                                                            (Use only on last page)
                                                                                                                                       (Report also on Summary of   (If applicable, report also on
                                                                                                                                       Schedules.)                  Statistical Summary of
               Case: 13-10011              Doc# 1                  Filed: 01/04/13          Entered: 01/04/13 08:44:21                                 Page 18 of 37Certain Liabilities and
                                                                                                                                                                    Related Data)
B6E (Official Form 6E) (04/10)


In re Gary L. Derosier and Teresa Derosier                                                               ,                             Case No.
                           Debtor(s)                                                                                                                            (if known)
               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

       The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them
or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If
the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E
in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

        Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily
consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

         Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

     Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
     or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
     provided in 11 U.S.C. § 507(a)(1).

     Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
     the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

     Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
     qualifying independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original
     petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

     Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

     Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

     Deposits by individuals
     Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
     use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of
     the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507
     (a)(9).
     Claims for Death or Personal Injury While Debtor Was Intoxicated
     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
     alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
  * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                      1 No continuation sheets attached
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Official Form 6E (04/10) - Cont.




In re Gary L. Derosier and Teresa Derosier                                                                                    ,                            Case No.
                           Debtor(s)                                                                                                                                              (if known)

                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                             (Continuation Sheet)
Type of Priority for Claims Listed on This Sheet:              Taxes and Certain Other Debts Owed to Governmental Units

     Creditor's Name, Mailing Address                                        Date Claim was Incurred and                                             Amount of     Amount        Amount not
                                                                               Consideration for Claim                                                Claim       Entitled to    Entitled to
               Including ZIP Code,                                                                                                                                 Priority       Priority,




                                                                                                                                      Unliquidated
                                                                                                                                      Contingent
              and Account Number

                                                         Co-Debtor
                                                                                                                                                                                   if any




                                                                                                                                      Disputed
                                                                     H--Husband
              (See instructions above.)                              W--Wife
                                                                     J--Joint
                                                                     C--Community

Account No:
       9942                                                          C 2010-2011                                                                     $ 1,977.00 $ 1,977.00            $ 0.00
Creditor # : 1
Franchise Tax Board                                                    Income tax arrears
P.O. Box 942867
Sacramento CA 94240




Account No: 9942                                                     C 2010-2011                                                                     $ 5,461.00 $ 5,461.00            $ 0.00
Creditor # : 2
Internal Revenue Service                                               Income tax arrears
P.O. Box 7346
Philadelphia PA 19101-7346




Account No:




Account No:




Account No:




Sheet No.                                                                                                                         Subtotal $          7,438.00        7,438.00          0.00
               1 of         1      continuation sheets                                                                      (Total of this page)
attached to Schedule of Creditors Holding Priority Claims                                                                            Total $
                                                                       (Use only on last page of the com pleted Schedule E. Report total also         7,438.00
                                                                                                                 on Sum m ary of Schedules)

                                                                                                                                     Total $
                                                                          (Use only on last page of the com pleted Schedule E. If applicable,                         7,438.00          0.00
                                                                            report also on the Statistical Sum m ary of Certain Liabilities and


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B6F (Official Form 6F) (12/07)


In re Gary L. Derosier and Teresa Derosier                                                                         ,                                   Case No.
                           Debtor(s)                                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a
creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all
creditors will not fit on this page, use the continuation sheet provided.

     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of
them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or
Community."

         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)

       Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on
the Summary of Schedules, and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of
Certain Liabilities and Related Data.



   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                           Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor




                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          1631
Account No:                                                         C   2009-2012                                                                                                                           $ 0.00
Creditor # : 1
Capital One                                                              Credit Card Charge NOTICE ONLY
P.O. Box 26074
Richmond VA 23260



          5011
Account No:                                                         C   2009-2012                                                                                                                      $ 2,748.00
Creditor # : 2
Capital One                                                              Credit Card Charges
P.O. Box 26074
Richmond VA 23260



          1631
Account No:                                                         C   2008                                                                                                                           $ 4,444.00
Creditor # : 3
Capital One                                                              Credit Card Charges
P.O. Box 60024
City of Industry CA 91716-0024



     2 continuation sheets attached                                                                                                                  Subtotal $                                        $ 7,192.00
                                                                                                                                                                     Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related


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B6F (Official Form 6F) (12/07)   - Cont.


In re Gary L. Derosier and Teresa Derosier                                                                         ,                                   Case No.
                           Debtor(s)                                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                           Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          7244
Account No:                                                         C   2008                                                                                                                           $ 2,105.00
Creditor # : 4
First National Credit                                                    Credit Card Charges
P.O. Box 5097
Sioux Falls SD 57117



          4563
Account No:                                                         C   2008                                                                                                                              $ 285.00
Creditor # : 5
First Premier Bank                                                       Credit Card Charges
P.O. Box 5519
Sioux Falls SD 57117-5519



          0802
Account No:                                                         C                                                                                                                                  $ 7,746.00
Creditor # : 6
HFC                                                                      Credit Card Charges
P.O. Box 3425
Buffalo NY 14240-0628



Account No:                                                         C                                                                                                                                       $ 0.00
Creditor # : 7
Paris and Paris, LLP                                                     Attorney for:
Paris Law Bldg.
424 Pico Blvd.                                                           HFC Beneficial
Santa Monica CA 90405                                                    NOTICE ONLY



Account No:                                                         C                                                                                                                                     $ 940.00
Creditor # : 8
Patricia Murray                                                          Medical services
1100 Sonoma Ave. #D
Santa Rosa CA 95405




Sheet No.      1 of        2 continuation sheets attached to Schedule of                                                                             Subtotal $                                       $ 11,076.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related


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B6F (Official Form 6F) (12/07)   - Cont.


In re Gary L. Derosier and Teresa Derosier                                                                         ,                                   Case No.
                           Debtor(s)                                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                           Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:                                                         C                                                                                                                                 $ 29,305.00
Creditor # : 9
Sallie Mae                                                               Student loans
P.O. Box 9500
Wilkes Barre PA 18773



          9341
Account No:                                                         C                                                                                                                                  $ 7,588.00
Creditor # : 10
Western Dental                                                           Medical services
P.O. Box 14228
Orange CA 92863-1228



Account No:                                                         C   2012                                                                                                                                $ 0.00
Creditor # : 11
Winn Law Group                                                           Attorneys for: Calvary Portfolio
110 E. Wilshire Ave. #212
Fullerton CA 92832-1109



Account No:




Account No:




Sheet No.      2 of        2 continuation sheets attached to Schedule of                                                                             Subtotal $                                       $ 36,893.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of                                      $ 55,161.00
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related


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B6G (Official Form 6G) (12/07)




In re Gary L. Derosier and Teresa Derosier                                                                     / Debtor             Case No.
                                                                                                                                                                        (if known)


                  SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



   Check this box if the debtor has no executory contracts or unexpired leases.

               Name and Mailing Address,                                                        Description of Contract or Lease and
                 Including Zip Code, of                                                              Nature of Debtor's Interest.
                 Other Parties to Lease                                                State whether Lease is for Nonresidential Real Property.
                      or Contract.                                                      State Contract Number of any Government Contract.


Valdez and Sons Vineyard Mgmt.                                  Contract Type:
595 Santana Dr. #A                                              Terms: Expires 11/2015
Cloverdale CA 95425                                             Beginning date:
                                                                Debtor's Interest:
                                                                Description:
                                                                Buyout Option:




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B6H (Official Form 6H) (12/07)




In re Gary L. Derosier and Teresa Derosier                                                    / Debtor         Case No.
                                                                                                                                            (if known)


                                                    SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preeceding the commencement of the case, identify the name of the debtors spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by
the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
   Check this box if the debtor has no codebtors.

                        Name and Address of Codebtor                                             Name and Address of Creditor




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B6I (Official Form 6I) (12/07)




In re Gary L. Derosier and Teresa Derosier                                                                ,                    Case No.
                          Debtor(s)                                                                                                                       (if known)


                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
   Debtor's Marital                                                                  DEPENDENTS OF DEBTOR AND SPOUSE
     Status:                       RELATIONSHIP(S):                                                                                AGE(S):
      Married                      Son                                                                                             24
  EMPLOYMENT:                                                   DEBTOR                                                                       SPOUSE

  Occupation                     Truck Driver                                                             Head cook
  Name of Employer               Bradley Tanks, Inc.                                                      Cloverdale Unified School Dist
  How Long Employed              2 months                                                                 10 years
  Address of Employer            525 Green St.                                                             97 School St.
                                 Martinez CA 94553-4251                                                    Cloverdale CA                  95425
  INCOME: (Estimate of average or projected monthly income at time case filed)                                            DEBTOR                             SPOUSE
  1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $                       2,237.00 $                       2,614.00
  2. Estimate monthly overtime                                                                             $                           0.00 $                           0.00
  3. SUBTOTAL                                                                                              $                       2,237.00 $                       2,614.00
  4. LESS PAYROLL DEDUCTIONS
      a. Payroll taxes and social security                                                                 $                            475.00    $                   357.00
      b. Insurance                                                                                         $                              0.00    $                 1,114.00
      c. Union dues                                                                                        $                              0.00    $                    39.00
      d. Other (Specify): CALPERS                                                                          $                              0.00    $                   179.00
  5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $                            475.00 $                    1,689.00
  6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $                       1,762.00       $                     925.00
  7. Regular income from operation of business or profession or farm (attach detailed statement)           $                           0.00       $                       0.00
  8. Income from real property                                                                             $                           0.00       $                       0.00
  9. Interest and dividends                                                                                $                           0.00       $                       0.00
  10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that          $                           0.00       $                       0.00
  of dependents listed above.
  11. Social security or government assistance
    (Specify):                                                                                             $                           0.00 $                              0.00
  12. Pension or retirement income                                                                         $                       1,904.00 $                              0.00
  13. Other monthly income
    (Specify):                                                                                             $                              0.00 $                           0.00

  14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $                    1,904.00 $                              0.00
  15. AVERAGE MONTHLY INCOME                 (Add amounts shown on lines 6 and 14)                            $                    3,666.00 $                           925.00
  16. COMBINED AVERAGE MONTHLY INCOME:                 (Combine column totals                                                  $                  4,591.00
    from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                                                  (Report also on Summary of Schedules and, if applicable, on
                                                                                                                   Statistical Summary of Certain Liabilities and Related Data)


  17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:

                  Debtor's work is seasonal and expects a 10-20% drop from November, 2012 through March,
                  2013




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B6J(Official Form 6J)(12/07)




In re Gary L. Derosier and Teresa Derosier                                                                    ,                           Case No.
                            Debtor(s)                                                                                                                                        (if known)

                          SCHEDULE J-CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR

        Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family. Prorate any payments
made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from
the deductions from income allowed on Form 22 A or 22C.
    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled
    "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                                   $                  2,144.00
                                                                             .....................................................................................................................
       a. Are real estate taxes included?        Yes         No
       b. Is property insurance included?        Yes         No
 2. Utilities: a. Electricity and heating fuel                                                                                                            $                    480.00
                                                ..................................................................................................................................................
                b. Water and sewer                                                                                                                        $                        0.00
                c. Telephone       ..............................................................................................................................................................
                                                                                                                                                          $                        0.00
                d. Other      Cable and internet                                                                                                          $                    225.00
                  Other       Cell phone
                             ...................................................................................................................................................................
                                                                                                                                                          $                    100.00

 3. Home maintenance (repairs and upkeep)                                                                                                                 $                         0.00
                                                   ..............................................................................................................................................
 4. Food                                                                                                                                             $                     600.00
 5. Clothing                                                                                                                                         $                      25.00
             .................................................................................................................................................................................
 6. Laundry and dry cleaning                                                                                                                         $                      10.00
 7. Medical and dental expenses                                                                                                                           $                     200.00
                                         ........................................................................................................................................................
 8. Transportation (not including car payments)                                                                                                           $                     100.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                     $                     100.00
                                                                             ..................................................................................................................
 10. Charitable contributions                                                                                                                             $                        0.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
              a. Homeowner's or renter's                                                                                                                  $                       76.00
                                             ....................................................................................................................................................
              b. Life                                                                                                                                     $                        0.00
              c. Health                                                                                                                                  $                         0.00
                           ......................................................................................................................................................................
              d. Auto                                                                                                                                 $                     176.00
              e. Other                                                                                                                                $                         0.00
                      ........................................................................................................................................................................
                Other                                                                                                                                 $                         0.00


  12. Taxes (not deducted from wages or included in home mortgage)
  (Specify)                                                                                                                                               $                        0.00
  13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
           a. Auto                                                                                                                                        $                         0.00
                          ........................................................................................................................................................................
           b. Other:                                                                                                                                      $                        0.00
           c. Other:      Student loan (forbearance)                                                                                                                                0.00
                          ........................................................................................................................................................................
                                                                                                                                                          $


  14. Alimony, maintenance, and support paid to others                                                                                                    $                        0.00
                                                              ..................................................................................................................................
  15. Payments for support of additional dependents not living at your home                                                                              $                        0.00
  16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                       $                        0.00
                                                                                                         ....................................................................................
  17. Other:      Animal expenses                                                                                                                        $                      75.00
     Other:                                                                                                                                              $                        0.00
                  ...............................................................................................................................................................................
                                                                                                                                                                                   0.00
  18. AVERAGE MONTHLY EXPENSES Total lines 1-17. Report also on Summary of Schedules                                                                      $                 4,311.00
     and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
  19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


  20. STATEMENT OF MONTHLY NET INCOME
      a. Average monthly income from Line 16 of Schedule I                                                                                                $                 4,591.00
      b. Average monthly expenses from Line 18 above                                                                                                      $                 4,311.00
      c. Monthly net income (a. minus b.)                                                                                                                 $                   280.00


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 B 7 (Official Form 7) (12/12)

                                            UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF CALIFORNIA


In re: Gary L. Derosier                                                                                               Case No.
       and                                                                                                                                 (if known)
       Teresa Derosier
                                                                                                          ,
                                               Debtor

                                                           STATEMENT OF FINANCIAL AFFAIRS
           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not diclose the child's name. See, 11
U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

          Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19-25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to
any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.



                                                                           DEFINITIONS
          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case,
any of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor my also be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporation debtor
and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. §101(2), (31).




         1. Income from employment or operation of business
 None     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business, including
          part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this case was
          commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that maintains, or has
          maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of
          the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must
          state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT                                                   SOURCE

Year to date: $33,384                                    Employment (H)
$12,813                                                  Employment (W)
$3,461                                                   Share-cropping employment

2011: $64,123                                            Employment
$3,461                                                   Share-cropping employment

2010: $77,380                                            Employment
$12,083                                                  Share-cropping employment


         2. Income other than from employment or operation of business
 None     State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during the two years
          immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married
          debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and


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        a joint petition is not filed.)

AMOUNT                                                     SOURCE

Year to date: $7,616                                       Pension (H)



        3. Payments to creditors
None    Complete a. or b., as appropriate, and c.

        a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other debts to any
        creditor, made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that constitutes or is
        affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
        obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors
        filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
        separated and a joint petition is not filed.)




None    b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately preceding the
        commencement of this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $5,850*. If the debtor is
        an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
        repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filingunder chapter 12 or chapter 13
        must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
        petition is not filed.)


        * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




None    c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or
        were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
        unless the spouses are separated and a joint petition is not filed.)




        4. Suits and administrative proceedings, executions, garnishments and attachments
None    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case.
        (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                              NATURE OF                                     COURT OR AGENCY
AND CASE NUMBER                              PROCEEDING                                      AND LOCATION                                 STATUS OR DISPOSITION

Beneficial v. Gary                           Limited civil suit                                                                           Judgment
Derosier
Case No.


Calvary Portfolio                            Limited civil suit                                                                           Judgment
v. Gary Derosier
Case No. 11-02476-0


None    b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
        whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




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        5. Repossessions, foreclosures and returns
None    List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller,
        within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
        concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




        6. Assignments and receiverships
None    a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case. (Married
        debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)




None    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
        whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




        7. Gifts
None    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to
        family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient.
        (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
        unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF                                     RELATIONSHIP                         DATE
PERSON OR ORGANIZATION                                  TO DEBTOR, IF ANY                    OF GIFT                 DESCRIPTION AND VALUE OF GIFT

St. Peters Church                                       Church                               8/2011-                 $480
491 S. Franklin                                                                              8/2012
Cloverdale Ca 95425


        8. Losses
None    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint
        petition is filed, unless the spouses are separated and a joint petition is not filed.)




        9. Payments related to debt counseling or bankruptcy
None    List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
        consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of
         this case.

                                                        DATE OF PAYMENT,                   AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                               NAME OF PAYER IF OTHER THAN DEBTOR DESCRIPTION AND VALUE OF PROPERTY

Tiffany R. Norman, Esq.                                 Date of Payment: December,                                   $1,200.00
654 Sacramento St. 2nd Floor                            2012
San Francisco, CA 94111                                 Payor: Gary L. Derosier


        10. Other transfers
None    a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely
        or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
        transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




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None    b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device
        of which the debtor is a benificiary.




        11. Closed financial accounts
None    List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred
        within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or
        other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
        institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both
        spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




        12. Safe deposit boxes
None    List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding
        the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether
        or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




        13. Setoffs
None    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case.
        (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)




        14. Property held for another person
None    List all property owned by another person that the debtor holds or controls.




        15. Prior address of debtor
None    If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that
        period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.




        16. Spouses and Former Spouses
None    If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada,
        New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case, identify the name of
        the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.




        17. Environmental Information
None    For the purpose of this question, the following definitions apply:

        "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
        wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the
        cleanup of these substances, wastes, or material.

        "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
        debtor,
        including, but not limited to disposal sites.




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         "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or
         similar termunder an Environmental Law:

         a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable
         under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:




None     b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the
         governmental unit to which the notice was sent and the date of the notice.




None     c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a
         party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.




         18. Nature, location and name of business
None     a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates of all
         businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was
         self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
         which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding the commencement of this case

                  If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
         all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately preceding the
         commencment of this case.

                  If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
         all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the
         commencment of this case.




None     b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.




[If completed by an individual or individual and spouse]


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that
they are true and correct.



       Date     1/ 3/2013                            Signature       /s/ Gary L. Derosier
                                                     of Debtor


                                                     Signature       /s/ Teresa Derosier
       Date     1/ 3/2013
                                                     of Joint Debtor
                                                     (if any)




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Rule 2016(b) (8/91)


                                    UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF CALIFORNIA

        Gary L. Derosier                                                                            Case No.
In re
          and                                                                                       Chapter 13
        Teresa Derosier
                                                                                         / Debtor
        Attorney for Debtor:   Tiffany R. Norman

                                   STATEMENT PURSUANT TO RULE 2016(B)

The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:
1. The undersigned is the attorney for the debtor(s) in this case.

2. The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
   a) For legal services rendered or to be rendered in contemplation of and in
      connection with this case . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $            3,000.00
   b) Prior to the filing of this statement, debtor(s) have paid . . . . . . . . . . . . . . . $                   1,200.00
   c) The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . $                1,800.00

3. $             281.00          of the filing fee in this case has been paid.

4. The Services rendered or to be rendered include the following:
   a) Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining whether to
      file a petition under title 11 of the United States Code.
   b) Preparation and filing of the petition, schedules, statement of financial affairs and other documents required by the
      court.
   c) Representation of the debtor(s) at the meeting of creditors.

5. The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation for
   services performed, and
      None other

6. The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any, will
   be from earnings, wages and compensation for services performed, and
     None other

7. The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following for
   the value stated:
      None

8. The undersigned has not shared or agreed to share with any other entity, other than with members of undersigned's
   law firm, any compensation paid or to be paid except as follows:
      None

Dated: 1/ 3/2013                               Respectfully submitted,


                                              X /s/ Tiffany R. Norman
                        Attorney for Petitioner: Tiffany R. Norman
                                                 TRN Law Associates
                                                 654 Sacramento St. 2nd Floor
                                                 San Francisco CA 94111

                                               415-823-4566




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                                  UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF CALIFORNIA



In re Gary L. Derosier                                                                     Case No.
      and                                                                                  Chapter 13
      Teresa Derosier
                                                                            / Debtor
    Attorney for Debtor:   Tiffany R. Norman




                                      CERTIFICATION OF CREDITOR MATRIX


                  I hereby certify that the attached matrix includes the names and addresses of all creditors listed

   on the debtor's schedules.




Dated:   1/ 3/2013                                                  /s/ Tiffany R. Norman
                                                                    Debtor's Attorney




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                      Capital One
                      P O Box 60024
                      City of Industry      CA   91716-0024



                      Capital One
                      P O Box 26074
                      Richmond VA 23260



                      First National Credit
                      P O Box 5097
                      Sioux Falls SD 57117



                      First Premier Bank
                      P O Box 5519
                      Sioux Falls SD 57117-5519



                      Franchise Tax Board
                      P O Box 942867
                      Sacramento CA 94240



                      HFC
                      P O Box 3425
                      Buffalo NY 14240-0628



                      Internal Revenue Service
                      P O Box 7346
                      Philadelphia PA 19101-7346




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                      Paris and Paris LLP
                      Paris Law Bldg
                      424 Pico Blvd
                      Santa Monica CA 90405



                      Patricia Murray
                      1100 Sonoma Ave #D
                      Santa Rosa CA 95405



                      Regional Trustee Services Corp
                      616 1st Ave #500
                      Seattle WA 98104



                      Sallie Mae
                      P O Box 9500
                      Wilkes Barre PA       18773



                      Springfield Financial
                      P O Box 54290
                      Los Angeles CA 90054-0349



                      Valdez and Sons Vineyard Mgmt
                      595 Santana Dr #A
                      Cloverdale CA 95425



                      Wachovia
                      P O Box 60505
                      City of Industry      CA   91716




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                      Western Dental
                      P O Box 14228
                      Orange CA 92863-1228



                      Winn Law Group
                      110 E Wilshire Ave #212
                      Fullerton CA 92832-1109




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